05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 1 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 2 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 3 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 4 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 5 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 6 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 7 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 8 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 9 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 10 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 11 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 12 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 13 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 14 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 15 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 16 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 17 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 18 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 19 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 20 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 21 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 22 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 23 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 24 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 25 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 26 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 27 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 28 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 29 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 30 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 31 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 32 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 33 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 34 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 35 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 36 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 37 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 38 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 39 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 40 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 41 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 42 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 43 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 44 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
                 (Part 1a) of Supplemental Affidavit Pg 45 of 46
05-44481-rdd   Doc 7965-2 Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit A
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